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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       ASHLEY M GJOVIK,                                  Case No. 3:23-cv-04597-EMC (KAW)
                                   8                     Plaintiff,                          ORDER DENYING PLAINTIFF'S
                                                                                             MOTION FOR LEAVE TO FILE A
                                   9              v.                                         MOTION FOR RECONSIDERATION
                                  10       APPLE INC.,                                       [Discovery Letter #5]
                                  11                     Defendant.                          Re: Dkt. No. 171
                                  12
Northern District of California
 United States District Court




                                  13           On February 11, 2025, Plaintiff filed four discovery letter briefs. (Dkt. Nos. 162-165.) On
                                  14   February 20, 2025, the Court terminated the filings on the grounds that the Court does not
                                  15   entertain unilateral discovery letters. (Dkt. No. 170.) Plaintiff was advised that “the parties are
                                  16   required to meet and confer and file joint discovery letters to address pending discovery disputes
                                  17   in accordance with the Court’s Standing Order.” Id. at 1 (citing Judge Westmore’s General
                                  18   Standing Order ¶¶ 13- 14).
                                  19           On February 20, 2025, Plaintiff filed a motion for reconsideration of the Court’s order
                                  20   terminating the discovery letters.1 (Pl.’s Mot., Dkt. No. 171.) Specifically, Plaintiff requested
                                  21   “reconsideration of her request for a Judge-supervised meet and confer telephone conference, as
                                  22   prescribed by the Honorable Judge Chen last year, due to the open and ongoing discovery disputes
                                  23   between the parties.” Id. at 3.2
                                  24           On February 27, 2025, Defendant filed an opposition and explained that Plaintiff filed her
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                                  26     Plaintiff did not follow the proper procedure. Before filing a motion for reconsideration, a party
                                       is required to obtain leave of court. See Civil L.R. 7-9(a). Thus, the Court will construe this as a
                                  27   motion for leave to file a motion for reconsideration.
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                                         The Court notes that Plaintiff attached more than 60 pages of exhibits even though the Court’s
                                  28   standing order limits discovery letter exhibits to 12 pages. (Judge Westmore’s Standing Order ¶
                                       14(b)(ii).)
                                   1   request for reconsideration without asking Apple to meet and confer in accordance with the

                                   2   Court’s Standing Order. (Opp’n, Dkt. No. 178 at 1.) Defendant further represented that it remains

                                   3   willing to meet and confer in accordance with the Court’s standing order. Id.

                                   4           Accordingly, Plaintiff’s motion for leave to file a motion for reconsideration regarding her

                                   5   request for a judge-supervised meet and confer telephone conference is DENIED. At this

                                   6   juncture, the Court finds no basis to depart from the procedures set forth in the standing order,

                                   7   which requires that the parties meet and confer in person or via video conference. (Judge

                                   8   Westmore’s General Standing Order ¶ 13.) If Plaintiff is concerned about the possibility of

                                   9   Defendant making “unlawful threats and coercive statements” during the meet and confer or the

                                  10   potential that the discussions will be misrepresented, the parties can meet via video conference and

                                  11   record the meet and confer session. (See Dkt. No. 171 at 2.) The parties are advised to limit their

                                  12   discussions to the relevant discovery device(s) at issue. This meet and confer process is not the
Northern District of California
 United States District Court




                                  13   appropriate venue to air general grievances.

                                  14           Finally, the parties are directed to meet and confer regarding the Northern District’s model

                                  15   stipulated protective order (available at https://cand.uscourts.gov/forms/model-protective-orders/).

                                  16   If the parties are unable to agree, the Court is inclined to adopt the model order for standard

                                  17   litigation.

                                  18           IT IS SO ORDERED.

                                  19   Dated: March 11, 2025
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                                  20                                                         KANDIS A. WESTMORE
                                  21                                                         United States Magistrate Judge

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